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 4   Telephone: (916) 554-2790
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) CR S-08-324 GEB
                                  )
12                  Plaintiff,    ) STIPULATION AND [PROPOSED] ORDER TO
                                  ) CONTINUE STATUS CONFERENCE
13        v.                      )
                                  )
14   JOHN ALLEN LEE, et al.,      )
                                  )
15                  Defendant.    )
     _____________________________)
16
17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States
20   Attorney, and defendant John Allen Lee, through his attorney, Ronald
21   Peters, Esq., and defendant Christine Corsbie, through her attorney,
22   Erin Radekin, Esq., hereby stipulate and agree that the status
23   conference scheduled for August 15, 2008, should be continued to
24   September 12, 2008, at 9:00 a.m.
25        Counsel for the government is unavailable due to travel for a
26   work related seminar the week of August 11, 2008.         Ronald Peters,
27   counsel for defendant Lee, is in a state jury trial and is
28   unavailable for the status conference on August 15, 2008, also.

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 1   Defense counsels have no opposition to continuing this matter.         The
 2   parties have agreed and respectfully request that the Court set the
 3   date of September 12, 2008, at 9:00 a.m., for status conference.
 4         Parties agree that time be excluded pursuant to 18 U.S.C. §
 5   3161(h)(8)(B)(iv) - Local Code T-4 - reasonable time to prepare and
 6   for continuity of counsel.      The parties agree that time be excluded
 7   under this provision for the reasons stated above from August 15,
 8   2008, to and including September 12, 2008.
 9                                               Respectfully submitted,
10                                               McGREGOR W. SCOTT
                                                 United States Attorney
11
12   Dated: August 14, 2008            By:       /s/ William S. Wong
                                                 WILLIAM S. WONG
13                                               Assistant U.S. Attorney
14
15   Dated: August 14, 2008            By:       /s/ Ronald Peters
                                                 RONALD PETERS, ESQ.
16                                               Attorney for Defendant
                                                 JOHN ALLEN LEE
17
18   Dated: August 14, 2008            By:       /s/ Erin Radekin
                                                 ERIN RADEKIN, ESQ.
19                                               Attorney for Defendant
                                                 CHRISTINE CORSBIE
20
     ____________________________________________________________________
21                                   ORDER
22         Good cause having been shown, it is hereby ordered that this
23   matter be set for a status conference on September 12, 2008, at 9:00
24   a.m. and that time should be excluded under Local Code T-4 from
25   ///
26   ///
27   ///
28   ///

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 1   August 15, 2008, to and including September 12, 2008.
 2 Dated:    August 21, 2008
 3
 4                                    GARLAND E. BURRELL, JR.
 5                                    United States District Judge

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